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                              UNITED STATES DISTRICT COURT  
                                      DISTRICT OF NEVADA 
                                                  
                                                  
    COURAGE UHUMWNOMA OSAWE,                          
                                                      
                     Plaintiff(s),                   Case No.​ 3:18-cv-00600-RCJ-WGC  
              vs.                                     
                                                     RESPONSE IN OPPOSITION 
    DMV INVESTIGATOR JENNIFER                        TO MOTION TO STAY 
    TINSLEY, DMV INVESTIGATOR                        DISCOVERY  
    BRIAN BOWLES, DMV                                 
    INVESTIGATOR WILLIAM LYONS                       ORAL ARGUMENT 
    and DMV SERGEANT TODD                            REQUESTED 
    PARDINI; and JOHN DOES I through                    
    X, inclusive                                      
                                                      
                 Defendant(s). 
    _________________________________/ 

                                                  
                                                      

         
            COMES NOW, COURAGE UHUMWNOMA OSAWE, (“Osawe” or “Plaintiff”), by 

and through the undersigned counsel, and hereby files the following Response in Opposition 

to the February 26, 2019 Motion to Stay Discovery (“Motion”) (Doc #17) filed by DMV 

INVESTIGATOR JENNIFER TINSLEY (“Tinsley”), DMV INVESTIGATOR BRIAN 

BOWLES (“Bowles”), DMV INVESTIGATOR WILLIAM LYONS (“Lyons”), and DMV 



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SERGEANT TODD PARDINI (“Pardini”) (collectively “the Defendants”); and JOHN 

DOES I through X, inclusive. 

      This Opposition is made and based upon all of the pleadings and records on file for 

this proceeding together with every exhibit that is mentioned herein or attached hereto (each 

of which is incorporated by this reference as though it were set forth hereat in haec verba), if 

any there be, as well as the points and authorities set forth directly hereinafter.  

                ​ MEMORANDUM OF POINTS AND AUTHORITIES 

      The Defendants argue that once a Defendant pleads a defense of qualified immunity 

discovery should not be allowed. ​See​ Motion at 2:6 quoting ​Siegert v. Gilley​, 500 U.S. 226, 231 

(1991). The Defendants cite cases in which Courts (or appeals Courts) have found that 

discovery should be stayed when immunity is a threshold matter, including ​ Behrens v. Pelletier​, 

516 U.S. 299, 308 (1996) and ​Crawford-El v. Britton,​ 523 U.S. 574, 590 (1998). 

      There is no absolute rule as to whether the issue of qualified immunity must be 

resolved prior to permitting discovery. See ​Anderson v. Creighton,​ 483 U.S. 635, 646, 107 S. Ct. 

3034, 3042 (1987) where there are disputed issues of fact discovery may be necessary before a 

motion for summary judgment on qualified immunity grounds can be resolved. As argued in 

the Plaintiff’s February 13, 2019, Response in Opposition to the February 4, 2019 Motion for 

Summary Judgment (Doc #12), Osawe cannot be expected to present facts essential to 

justify his opposition to the Defendants qualified immunity claims, such as the applicable 

phone records from the incident, records of any communications between the Defendants 

relevant to Osawe’s claims, testimony from the Defendants as to their communications 




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during the sting operation at issue in this case, the identity of the alleged complainant 

identified in the probable cause reports of the Defendants and the nature of his/her 

complaint, any evidence related to the knowledge of the Defendants as to the exception in 

the law that would permit Osawe to sell three vehicles within a 12 month period and their 

communications to the Plaintiff regarding the exception, and records of the Defendants 

generally, without any discovery. ​ See​ ​McMillen v. Windham​, No. 3:16-CV-558, 2018 WL 

652830, at *2–3 (W.D. Ky. Jan. 31, 2018) - in some circumstances refusing to stay discovery 

pending resolution of motion to dismiss based on qualified immunity is justified, i.e. where a 

litigant prematurely seeks summary judgment, as is the case in this matter.   

      WHEREFORE, the Plaintiff requests that the Defendant's Motion be denied by the 

Court.   

Respectfully submitted this March 6, 2019.  
                                                     By: ​__________________________ 
                                                     Luke Busby 
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                              ​CERTIFICATE OF SERVICE 
          Pursuant to FRCP 5, I certify that on the date provided below, I caused service to 

be completed by: 

______ personally delivering; 

______ delivery via Reno/Carson Messenger Service; 

______ sending via Federal Express (or other overnight delivery service); 

 ______ depositing for mailing in the U.S. mail, with sufficient postage affixed thereto; or, 

 ​XXXX​ delivery via electronic means (ECF, fax, eflex, NEF, etc.) 

 a true and correct copy of the foregoing document addressed to:  

AARON D. FORD 
Attorney General 
NATHAN L. HASTINGS (Bar No. 11593) 
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Attorney for Defendants 
 
 
By: ______________________________                       3/6/2019
                                                  Dated: ________________ 
Luke Busby 
 




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